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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII



 NATIONAL SHOOTING SPORTS                CIVIL NO. 1:23-CV-00287 DKW-RT
 FOUNDATION,
                                         MEMORANDUM IN SUPPORT OF
                   PLAINTIFF,            MOTION

       vs.
 ANNE E. LOPEZ, ATTORNEY
 GENERAL OF THE STATE OF
 HAWAII,
                   DEFENDANT.


                MEMORANDUM IN SUPPORT OF MOTION
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                                  INTRODUCTION

        Hawaii House Bill 426 (“HB 426”), which took effect on July 1, 2023, flouts

  the Constitution and Acts of Congress in multiple respects. It should be enjoined.

        First, HB 426 violates the Second Amendment. The Supreme Court just made

  clear that “the Second Amendment protects the possession and use of weapons that

  are ‘in common use.’” N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S.Ct. 2111,

  2128 (2022). Accordingly, the only arms a state may ban consistent with the

  Constitution and our nation’s “historical tradition” of firearm regulation are those

  not “in common use today,” i.e., those that are “highly unusual in society at large.”

  Id. at 2143. Yet HB 426 bans the manufacture, sale, and marketing of firearms that

  Hawaii deems “abnormally dangerous and likely to create an unreasonable risk of

  harm to public health and safety in the State,” §134-B(b)(2), even if they are in

  common use. Hawaii may not prohibit what the Second Amendment protects.

        HB 426 also defies the federal Protection of Lawful Commerce in Arms Act

  (“PLCAA”). Congress passed the PLCAA to stamp out suits that seek to empower

  judges and juries to deploy nebulous state-law “reasonableness” standards to make

  licensed firearms manufacturers and sellers pay for harms caused by criminals who

  misuse their products. See Ileto v. Glock, Inc., 565 F.3d 1126 (9th Cir. 2009). Yet

  HB 426 empowers state officials and private parties to do just that. Because it
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  authorizes Hawaii and its citizens to use the court system to punish law-abiding

  firearms companies for others’ crimes, HB 426 is preempted by the PLCAA.

         HB 426 also directly regulates conduct that takes place entirely outside the

  state, in violation of the Constitution’s limits on extraterritorial state regulation.

  Even if a manufacturer operating solely in Missouri complies with all federal and

  Missouri laws, it still could be held be liable under HB 426 if one of its firearms later

  found its way to someone who used it to commit a crime in Hawaii, so long as a

  Hawaii court deems the manufacturer’s out-of-state marketing or theft-protection

  controls “[un]reasonable.” §§134-A, 134-B(b)(2), (b)(3). The Constitution does not

  allow a state to sit as overseer of conduct in its sister states.

         HB 426 fares just as poorly under the First Amendment. HB 426 imposes

  liability for “market[ing]” any firearm or related product that a Hawaii court decides

  is “abnormally dangerous and likely to create an unreasonable risk of harm to public

  health and safety in the State.” §134-B(b)(2)-(b)(3). The statute provides that a

  firearm is “abnormally dangerous” if it is “most suitable for assaultive purposes,”

  §134-B(d)(1), but what that means is anyone’s guess. HB 426 further prohibits

  marketing products “targeted at minors”—including products that minors may

  lawfully use in Hawaii. §134-B(d)(3). Despite that extreme breadth, HB 426 says

  nothing about myriad forms of speech that could lead directly to criminal gun




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  violence. Such radical over- and under-inclusiveness cannot be squared with the

  First Amendment, and the same flaws render HB 426 void for vagueness.

        Plaintiff, the National Shooting Sports Foundation (“NSSF”), is thus more

  than likely to succeed on its claims. And the remaining factors all favor injunctive

  relief. NSSF is the leading trade association for the industry, and its members

  include all the nation’s leading firearms manufacturers and sellers. Subjecting them

  to an unconstitutional statute inflicts irreparable harm as a matter of law, especially

  when that statute restricts constitutionally protected speech.        And enforcing

  unconstitutional laws is always contrary to the equities and public interest. The

  Court should grant NSSF’s motion and enjoin enforcement of HB 426.

                                   BACKGROUND
        1. In the 1990s, state and local governments initiated several lawsuits in

  response to concerns about violent crimes involving firearms. Yet rather than go

  after the criminals responsible, they invoked unprecedented theories of tort liability

  and sued federally licensed manufacturers and distributors of legal firearms that

  were lawfully manufactured and sold. Many suits failed, but winning in court was

  not the only objective: Recognizing that “[t]he legal fees” needed to defend against

  the rising tide of suits “alone” would have been “enough to bankrupt the industry,”

  Sharon Walsh, Gun Industry Views Accord as Dangerous Crack in Its Unity, Wash.

  Post (Mar. 18, 2000), https://wapo.st/2Zcp5KS, state and local governments



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  “pressed on” with these novel suits, “regardless of their chance of success, spending

  taxpayers’ money in a war of attrition against the firearms industry,” Recent

  Legislation, Protection of Lawful Commerce in Arms Act, 119 Harv. L. Rev. 1939,

  1940 (2006).

        Congress passed the PLCAA to end those efforts. Pub. L. No. 109-92, 119

  Stat. 2095 (2005) (codified at 15 U.S.C. §§7901-7903).          The PLCAA’s first

  enumerated “purpose[]” is to “prohibit causes of action against manufacturers,

  distributors, dealers, and importers of firearms or ammunition products, and their

  trade associations” for harm “caused by the criminal or unlawful misuse of firearm

  products” by third parties. 15 U.S.C. §7901(b)(1). To that end, the PLCAA broadly

  prohibits “any person,” “including any governmental entity,” from bringing any civil

  action against any licensed “manufacturer or seller” of firearms or related products

  for “relief[] resulting from the criminal or unlawful misuse of a qualified product by

  … a third party.” Id. §§7902(a), 7903(2)-(6). That is not just a defense to liability;

  the PLCAA confers a substantive “immunity” from covered suits. In re Acad., Ltd.,

  625 S.W.3d 19, 33-34 (Tex. 2021).

        That immunity is subject to only a handful of exceptions. As relevant here,

  the PLCAA does not preempt actions in which a manufacturer or seller is alleged to

  have “knowingly violated a State or Federal statute applicable to the sale or

  marketing of [a firearm or related] product” where “the violation was a proximate


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  cause of the harm for which relief is sought.” 15 U.S.C. §7903(5)(A)(iii). This

  provision is now known as the “predicate exception” because, “to take effect, it

  requires that the manufacturer or seller have committed an underlying (or predicate)

  statutory violation.” District of Columbia v. Beretta U.S.A. Corp., 940 A.2d 163,

  168 (D.C. 2008). But not all statutes count: The Ninth Circuit has squarely held

  that a statute that merely codifies the kinds of common-law tort theories that were

  invoked in pre-PLCAA suits (e.g., negligence and nuisance) does not qualify as a

  “predicate” statute, as such suits were “precisely the target of the PLCAA.” Ileto,

  565 F.3d at 1136.

        2. The Supreme Court confirmed just last year that when evaluating

  government burdens on the Second Amendment’s “unqualified command,” courts

  must assess “this Nation’s historical tradition” of regulating firearms. Bruen, 142

  S.Ct. at 2126. Applying that test, the Court invalidated a law requiring law-abiding

  citizens to show a special need to carry a firearm outside the home. Id. at 2134-56.

  In so doing, Bruen explained that our nation’s historical tradition is to protect arms

  “in common use today.” Id. at 2134. So, under Bruen, only arms that are both

  abnormally dangerous and “highly unusual in society at large” may be prohibited.

  Id. at 2143 (quoting District of Columbia v. Heller, 554 U.S. 570, 627 (2008)).

        Bruen should have led states to reconsider their laws to make them more

  protective of Second Amendment rights; sadly, some have had the opposite reaction.


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  HB 426, which was signed into law on April 26, falls in the latter camp, imposing

  sweeping new restrictions on the ability to manufacture, sell, and acquire firearms.

  HB 426 imposes new “standards of conduct” on all “firearm industry member[s],”

  defined broadly to mean “a person, firm, … or any other entity … engaged in the

  manufacture, distribution, … marketing, [or] wholesale[] or retail sale of firearm-

  related products.”    §§134-A, 134-B; see §134-A (defining “Firearm-related

  product”).

        First, HB 426 commands that industry members “shall … [e]stablish,

  implement, and enforce reasonable controls.” §134-B(b)(1). HB 426 does not,

  however, identify what “controls” are “reasonable.” Instead, it defines “reasonable

  controls” in terms of the goals such “controls” should accomplish—namely,

  “reasonable procedures, acts, or practices that are designed, implemented, and

  enforced to do the following:

        (1) Prevent the sale or distribution of a firearm-related product to a straw
        purchaser, a firearm trafficker, a person prohibited from possessing a firearm
        under federal or state law, or a person who the firearm industry member has
        reasonable cause to believe is at substantial risk of using a firearm-related
        product to harm themselves or another or of possessing or using a firearm-
        related product unlawfully;

        (2) Prevent the loss or theft of a firearm-related product from the firearm
        industry member; and

        (3) Ensure that the firearm industry member complies with all provisions of
        federal or state law and does not otherwise promote the unlawful manufacture,
        sale, possession, marketing, or use of a firearm-related product.



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  §134-A.

        The statute creates “a rebuttable presumption that [a] firearm industry member

  failed to implement reasonable controls” if “(1) [its] action or failure to act created

  a reasonably foreseeable risk that the harm alleged by the claimant would occur,”

  and “(2) [it] could have established, implemented, and enforced reasonable controls

  to prevent or substantially mitigate the risk that the harm would occur.” §134-C(e).

  “If [this] rebuttable presumption is established … the firearm industry member [has]

  the burden of showing through a preponderance of the evidence that [it] established,

  implemented, and enforced reasonable controls.” §134-C(f).

        Second, HB 426 effectively bans an unknown and unknowable set of arms.

  Under §134-B(b)(2), industry members must “[t]ake reasonable precautions to

  ensure that [they] do[] not sell, distribute, or provide to a downstream distributor a

  firearm-related product that is abnormally dangerous and likely to create an

  unreasonable risk of harm to public health and safety in the State.” Instead of

  employing Bruen’s common-use test, §134-B(b)(2) imposes a substantially less

  protective test for determining what arms people may keep and bear. Under HB 426,

  “[t]here shall be a presumption that a firearm-related product is abnormally

  dangerous and likely to create an unreasonable risk of harm to public health and

  safety if,” inter alia, the product’s “features render [it] most suitable for assaultive

  purposes instead of lawful self-defense, hunting, or other legitimate sport and


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  recreational activities.” §134-B(d)(1). The same presumption of illegality arises if

  a “firearm-related product is designed, sold, or marketed in a manner that is targeted

  at minors,” §134-B(d)(3), even though it is lawful for minors to use firearms in

  Hawaii in various common circumstances. Unlike other presumptions in the law,

  moreover, this one does not appear to be rebuttable. Cf. §134-C(e) (describing the

  lack-of-reasonable-controls presumption as “rebuttable”); see p.7, supra.

        Third, industry members may not “engage in any conduct related to the sale

  or marketing of firearm-related products that is in violation of this chapter.” §134-

  B(b)(3). Together with §134-B(d), then, HB 426 oddly appears to ban the sale of

  certain firearms based on how they are marketed.

        Any “person who has suffered harm in the State because of a firearm industry

  member’s violation of [HB 426],” as well as “the Attorney General, or any county

  attorney or public prosecutor,” “may bring a civil action” against an industry

  member “in a court of competent jurisdiction.” §134-C(b)-(c). If a court finds that

  an industry member violated the statute, it may award injunctive relief, damages,

  and “[a]ny other appropriate relief.” §134-C(d). In a suit under HB 426, traditional

  proximate cause principles do not apply. “An intervening act by a third party,

  including, but not limited to criminal use of a firearm-related product, shall not

  preclude a firearm industry member from liability.” §134-C(g) (emphasis added).

  HB 426 took effect on July 1, 2023. HB 426 §5.


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                                      ARGUMENT
        A party seeking an injunction must show a likelihood of success on the merits,

  irreparable harm absent preliminary relief, and that the balance of the equities and

  public interest favor an injunction. AK Futures LLC v. Boyd St. Distro, LLC, 35 F.4th

  682, 688 (9th Cir. 2022). Likelihood of success matters most, but “a stronger

  showing of one element may offset a weaker showing of another.” Hernandez v.

  Sessions, 872 F.3d 976, 990 (9th Cir. 2017).

  I.    NSSF Is Likely To Succeed On The Merits Of Its Claims.
        A.     HB 426 Violates the Second Amendment.
        “[T]he Second and Fourteenth Amendments protect an individual right to

  keep and bear arms for self-defense.” Bruen, 142 S.Ct. at 2125. And as the Ninth

  Circuit has recognized, “the core Second Amendment right to keep and bear arms

  for self-defense ‘wouldn’t mean much’ without the ability to acquire arms.” Teixeira

  v. Cnty. of Alameda, 873 F.3d 670, 677 (9th Cir. 2017). Laws that restrict the ability

  to purchase arms thus restrict conduct “presumptively protect[ed]” by the Second

  Amendment, meaning the state bears the burden of proving that such a law “is

  consistent with this Nation’s historical tradition.” Bruen, 142 S.Ct. at 2126. HB 426

  is not remotely consistent with that tradition, as it not only effectively bans protected

  arms, but subjects industry members to an amorphous form of liability with no

  historical pedigree whatsoever.



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        First, HB 426 forbids firearm industry members from manufacturing, making,

  or selling any “firearm-related product that is abnormally dangerous and likely to

  create an unreasonable risk of harm to public health and safety in the State.” §134-

  B(b)(2). And it creates an apparently unrebuttable presumption that a firearm is

  “abnormally dangerous”—and thus unlawful to manufacture, market, or sell—if it

  is “most suitable for assaultive purposes” or “designed, sold, or marketed in a

  manner that foreseeably promotes conversion of legal firearm-related products into

  illegal firearm-related products” or “is targeted at minors or other individuals who

  are legally prohibited from accessing firearms.” §134-B(d)(1)-(d)(3). That is a

  blatant end-run around Bruen. The Supreme Court has already articulated what our

  nation’s historical tradition is when it comes to which arms are protected: “[T]he

  Second Amendment protects … weapons that are those ‘in common use at the time,’

  as opposed to those that ‘are highly unusual in society at large.’” 142 S.Ct. at 2143.

  There is no exception for common arms that a state considers too “dangerous,” or

  better suited “for assaultive purposes,” or sold or marketed in a disfavored manner.

  If arms are “in common use today” for lawful purposes, id., they cannot be banned.

  Hawaii cannot displace that tradition with a test more to its liking.

        Making matters worse, HB 426 provides no guidance as to what makes an

  arm “most suitable for assaultive purposes,” or what constitutes designing, selling,

  or marketing an arm “in a manner that promotes conversion of legal firearm-related


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  products into illegal firearm-related products” or “is targeted at minors or other

  individuals who are legally prohibited from accessing firearms.” That is no small

  oversight.   Characteristics that might make a weapon “suitable for assaultive

  purposes” (or attractive to people “legally prohibited from accessing firearms”) are

  quite likely the same characteristics that many citizens prioritize in selecting a

  firearm for self-defense. See Barnett v. Raoul, 2023 WL 3160285, at *9 (S.D. Ill.

  Apr. 28, 2023) (features like “[a] pistol grip,” “[t]humbhole stocks,” and “flash

  suppressors” all help enhance one’s ability to fire “accura[tely]” while “decreas[ing]

  the risk of … firing stray shots”). That is why our nation’s historical tradition does

  not focus on “assaultive” vs. “defensive” purposes, or “dangerousness” in isolation,

  but rather permits states to prohibit only those arms that are both “dangerous and

  unusual.” Heller, 554 U.S. at 627 (emphasis added); see Caetano v. Massachusetts,

  577 U.S. 411, 418 (2016) (Alito, J., concurring in the judgment) (“[F]irearms cannot

  be categorically prohibited just because they are dangerous.”). Asking only whether

  a weapon is “abnormally dangerous,” as HB 426 does, thus defies both the Supreme

  Court’s teachings and the realities of self-defense.

        Nor is there some free-floating Second Amendment exception for firearms

  “designed, sold, or marketed in a manner that is targeted at minors.” §134-B(d)(3).

  Many citizens wish to introduce their children to hunting or shooting sports, which

  is entirely lawful to do in Hawaii, see, e.g., Haw. Rev. Stat. §134-5(a), and value a


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  firearm designed for minors precisely because it is safer and easier for a minor to

  use for those lawful purposes. But Hawaii has reached the puzzling conclusion that

  any firearm “designed … in a manner that is targeted at minors” is abnormally

  dangerous and thus unlawful. That too cannot be reconciled with the Second

  Amendment (or common sense).

        HB 426’s efforts to saddle licensed industry members with the costs of harms

  created by criminals are also inconsistent with historical tradition. Indeed, as the

  Third Circuit explained just a few decades ago—and as Congress agreed in the text

  of the PLCAA—“[t]o extend public nuisance law to embrace the manufacture of

  handguns would be unprecedented.” Camden Cnty. Bd. of Chosen Freeholders v.

  Beretta, 273 F.3d 536, 540-41 (3d Cir. 2001); see also Ileto, 565 F.3d at 1135

  (highlighting Congress’ finding that such “liability actions … are based on theories

  without foundation in hundreds of years of the common law and jurisprudence of

  the United States” (quoting 15 U.S.C. §7901(a)(7))). Hawaii thus cannot come close

  to “demonstrating that [HB 426] is consistent with the Nation’s historical tradition

  of firearm regulation.” Bruen, 142 S.Ct. at 2130.

        B.    HB 426 Is Preempted.

        Under the PLCAA, a “civil liability action … against a manufacturer or seller

  of [firearms and related products]” that seeks “damages … or other relief, resulting

  from the criminal or unlawful misuse of a qualified product by … a third party”



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  “may not be brought in any Federal or State court.”           15 U.S.C. §§7902(a),

  7903(5)(A).    Yet HB 426 empowers state actors to sue licensed firearms

  manufacturers and sellers for harms caused by third parties who misuse their

  products.   That unabashed effort to circumvent the PLCAA cannot withstand

  scrutiny.

        Hawaii presumably will argue that HB 426 is saved by the PLCAA’s

  “predicate exception,” which exempts certain lawsuits involving violations of

  federal or state law. See id. §7903(5)(A)(iii). But the Ninth Circuit has already

  rejected the argument that the predicate exception covers state statutes that merely

  codify the same common-law causes of action that Congress enacted the PLCAA to

  inter. See Ileto, 565 F.3d at 1134-36. The exception instead treats as “predicate

  statutes” only laws that impose the kinds of clear rules that industry members can

  knowingly violate (or not) in real time, not laws that merely invite the same

  “‘judicial evolution’ [that] was precisely the target of the PLCAA.” Id. at 1136. Any

  other conclusion “would allow the predicate exception to swallow the statute.” City

  of N.Y. v. Beretta, 524 F.3d 384, 403 (2d. Cir. 2008).

        While Ileto is binding on this Court no matter what, statutory text and context

  confirm that it is eminently correct. The predicate exception saves “an action” from

  preemption only to the extent the action alleges that “a manufacturer or seller of a

  qualified product knowingly violated a State or Federal statute applicable to the sale


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  or marketing of the product, and the violation was a proximate cause of the harm for

  which relief is sought.” 15 U.S.C. §7903(5)(A)(iii). That language presumes some

  obligation sufficiently concrete that an industry member can actually knowingly

  violate it at the time of manufacture or sale. See Nat’l Shooting Sports Found. v.

  Platkin, 2023 WL 1380388, at *6 (D.N.J. Jan. 31, 2023) (“The knowingly

  requirement of the predicate exception necessitates the actor to have a sufficiently

  concrete duty to have knowingly violated a relevant statute.”).

        The illustrative examples Congress supplied in the predicate exception

  confirm the point, as they both involve violations of clear legal obligations or

  prohibitions. See 15 U.S.C. §7903(5)(A)(iii)(I) (record-keeping violations); id.

  §7903(5)(A)(iii)(II) (conspiring with or aiding and abetting someone in a straw

  purchase). Under basic principles of interpretation, the general “applicable to”

  language in §7903(5)(A)(iii) must be “construed to embrace only objects similar to

  those enumerated by” those two specific examples. Beretta, 524 F.3d at 402; accord

  Platkin, 2023 WL 1380388, at *6. “Indeed, if any statute that ‘could be applied’ to

  the sales and manufacturing of firearms qualified as a predicate statute, there would

  be no need to list examples at all.” Ileto, 565 F.3d at 1134. And both of Congress’

  examples look nothing like HB 426, which effectively just commands NSSF’s

  members to employ “reasonable controls” and then leaves it to judges to decide after

  the fact whether controls were sufficiently “reasonable.”


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        The PLCAA’s expressly enumerated findings reinforce the conclusion that

  the predicate exception does not cover statutes that merely codify (let alone expand)

  common-law duties of care. Congress said right in the statute that the PLCAA

  forecloses efforts to hold those engaged in “the lawful design, manufacture,

  marketing, distribution, importation, or sale to the public of firearms or ammunition

  products” “liable for the harm caused by those who criminally or unlawfully misuse

  firearm products or ammunition products that function as designed and intended.”

  15 U.S.C. §7901(a)(5). And “lawful” is best understood to mean “activities having

  been done in compliance with statutes like those described in” the immediately

  preceding finding: “the Gun Control Act of 1968, the National Firearms Act, and

  the Arms [Export] Control Act.” Beretta, 524 F.3d at 402-03; see 15 U.S.C.

  §7901(a)(4). Those regulatory regimes impose concrete obligations with which

  industry members can ensure compliance. The predicate exception is thus best

  understood as encompassing only laws that likewise clearly define the line between

  right and wrong. See Platkin, 2023 WL 1380388, at *6.

        Yet HB 426 does the exact opposite. By its terms, HB 426 does not require a

  “knowing[]” violation of anything. It instead sets up a strict-liability offense based

  on any failure to “enforce reasonable controls.” §134-B(b)(2); see §134-A (defining

  “[r]easonable controls”). That unbounded reasonableness regime leaves NSSF’s

  members guessing what judges and juries will deem insufficient. It is totally


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  “contrary to the PLCAA to hold an industry member liable who complies with all

  laws but did not know that it failed to employ ‘reasonable procedures, safeguards,

  and business practices[.]’” Platkin, 2023 WL 1380388, at *6.

        And HB 426 goes further still, discarding proximate cause. The predicate

  exception explicitly permits only actions where a defendant’s knowing violation of

  a law “was a proximate cause of the harm for which relief is sought.” 15 U.S.C.

  §7903(5)(A)(iii). HB 426, by contrast, provides that “[a]n intervening act by a third

  party, including but not limited to criminal use of a firearm-related product, shall

  not preclude a firearm industry member from liability.” §134-C(g) (emphasis

  added). The PLCAA’s whole point is to prevent states from using tort law to make

  industry members pay for harms caused by “criminal or unlawful misuse of”

  firearms by “third part[ies].” 15 U.S.C. §7903(5)(A). That is why Congress made

  proximate cause non-negotiable. And under true proximate cause, “foreseeability

  alone is not sufficient,” Bank of Am. Corp. v. City of Miami, 581 U.S. 189, 201

  (2017); there must be a “direct relation between the injury asserted and the injurious

  conduct alleged,” Holmes v. Secs. Inv. Prot. Corp., 503 U.S. 258, 268 (1992). In

  stark contrast, HB 426 embraces an unbounded view of causation that the Supreme

  Court recently offered as a reductio ad absurdum. See Twitter, Inc. v. Taamneh, 143

  S.Ct. 1206, 1221 (2023) (rejecting the notion that “ordinary merchants could become




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  liable for any misuse of their goods and services, no matter how attenuated their

  relationship with the wrongdoer” (emphasis added)).

        In short, “the text and purpose of the PLCAA show[] that Congress intended

  to preempt general tort theories of liability even in jurisdictions … that have codified

  such causes of action.” Ileto, 565 F.3d at 1136. For good reason: The problem

  Congress had with the suits it enacted the PLCAA to stamp out is that they sought

  to “expand civil liability in a manner never contemplated by the framers of the

  Constitution, by Congress, or by the legislatures of the several States” and

  constituted an “abuse of the legal system.” 15 U.S.C. §7901(a)(6)-(a)(7). Congress

  thus opted “[t]o prohibit [such] causes of action” entirely, id. §7901(b)(1), regardless

  of whether the cause of action was statutory. Accordingly, “[t]o read [HB 426] as

  fitting within the predicate exception would run afoul of the goals of the PLCAA

  and would, in fact, ‘gut the PLCAA.’” Platkin, 2023 WL 1380388, at *7.

        C.     HB 426 Exceeds the Constitution’s Limits on Extraterritorial
               State Regulation.
        The Constitution restricts the power of states to directly regulate out-of-state

  conduct. That principle of states’ equal sovereignty inheres in the very plan of the

  Convention. See Nat’l Pork Producers Council v. Ross, 143 S.Ct. 1142, 1156-58 &

  n.1 (2023); id. at 1172-76 (Kavanaugh, J., concurring and dissenting in part); Shelby

  Cnty. v. Holder, 570 U.S. 529, 535 (2013) (“all States enjoy equal sovereignty”).

  Myriad constitutional provisions presuppose and reinforce that principle. See U.S.


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  Const. art. I, §8, cl. 3; art. I, §10; art. IV, §1; art. IV, §2, cl. 1; amend. X; amend. XIV,

  §1, cl. 2. Thus, “the territorial limits of state authority under the Constitution’s

  horizontal separation of powers” are grounded not just in particular provisions, but

  in the “original and historical understandings of the Constitution’s structure and the

  principles of ‘sovereignty and comity’ it embraces.” Ross, 143 S.Ct. at 1156, 1157

  n.1 (majority op.). Those principles mean, quite simply, that a state cannot directly

  regulate conduct that neither occurs nor is directed within its borders.

         HB 426 flouts that rule, as it subjects NSSF members to liability in Hawaii

  courts for conduct that occurred entirely out of state and was entirely lawful where

  and when it took place. For instance, if firearm produced by a manufacturer in Ohio

  is one day criminally misused in Hawaii, a Hawaii judge could hold that Ohio-based

  manufacturer liable for used too lax of security measures at its Ohio plants—even if

  the manufacturer never sold the firearm to anyone in Hawaii, and even if it employed

  every security measure that Ohio and Congress imposed. See Decl. of Kevin B. Reid

  ¶¶7-8 (Ruger has no manufacturing operations in Hawaii and does not sell directly

  to any civilian in Hawaii); Decl. of Susan Cupero ¶7 (same for Smith & Wesson).

  The Constitution does not permit this sort of extraterritorial regulation just because

  a product eventually finds its way into Hawaii. See Baldwin v. G.A.F. Seelig, Inc.,

  294 U.S. 511, 521-23 (1935); Sam Francis Found. v. Christies, Inc., 784 F.3d 1320,

  1323 (9th Cir. 2015) (en banc) (California law requiring art sellers to pay royalties


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  to the artist “violate[d] the dormant Commerce Clause” “as applied to out-of-state

  sales by California residents”). “If the transaction to be regulated occurs ‘wholly

  outside’ the boundaries of the state, the regulation is unconstitutional,” even if the

  actor does some other business in the regulating state. A.S. Goldmen & Co. v. N.J.

  Bureau of Sec., 163 F.3d 780, 786 (3d Cir. 1999); see Daniels Sharpsmart, Inc. v.

  Smith, 889 F.3d 608, 612-16 (9th Cir. 2018) (enjoining California law purporting to

  “dictate the method by which” companies treated medical waste “outside of

  California”).

        Compounding the problem, HB 426 allows “[i]njunctive relief sufficient to

  prevent the firearm industry member and any other defendant from further violating

  the law.” §134-C(d)(1). That will inevitably result in extraterritorial regulation, as

  most firearm industry members do not reside in Hawaii.            Indeed, for many

  companies, such relief would mean de facto nationwide injunctions. Such sweeping

  regulation-by-fiat is far beyond Hawaii’s power. Watson v. Emps. Liab. Assurance

  Corp., 348 U.S. 66, 70 (1954) (recognizing “the due process principle that a state is

  without power to exercise ‘extra territorial jurisdiction,’ that is, to regulate and

  control activities wholly beyond its boundaries”); cf. Edgar v. MITE Corp., 457 U.S.

  624, 643 (1982) (plurality op.) (the “most obvious burden … impose[d] on interstate

  commerce arises from the statute’s previously described nationwide reach”).




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         Furthermore, the Commerce Clause “prohibit[s] States from discriminating

  against or imposing excessive burdens on interstate commerce” within their borders.

  Comptroller of Treasury of Md. v. Wynne, 575 U.S. 542, 549 (2015); see also Pike v.

  Bruce Church, Inc., 397 U.S. 137, 142 (1970); Ross, 143 S.Ct. at 1158-59. HB 426

  does that too, as it imposes liability on out-of-state actors for commercial

  transactions occurring in other states. And the extreme burdens it imposes on

  interstate commerce outweigh any benefits, especially since the local interest in

  reducing crime within Hawaii could be achieved by other means with a far lesser

  impact on interstate commerce.

         Indeed, Congress itself recognized in the PLCAA that the kind of litigation

  HB 426 invites would impose an “unreasonable burden on interstate and foreign

  commerce of the United States.” 15 U.S.C. §7901(a)(6). And rightly so. To allow

  states to subject the firearms industry to sweeping lawsuits seeking to blame them

  for the actions of third parties over whom they have no control would render the

  Second Amendment a dead-letter. See Edgar, 457 U.S. at 642 (plurality op.)

  (considering effects if other states enacted similar laws). Making matters worse,

  since HB 426 creates liability based on the criminal conduct of third parties outside

  their control, and without regard to whether the industry member engaged in any

  conduct in or even directed at Hawaii, NSSF’s members can do very little to lessen

  their risk of liability. Indeed, the only way to truly eliminate all risk of liability under


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  HB 426 would be to cease operations altogether. See Reid Decl. ¶¶14, 16-17; Cupero

  Decl. ¶¶11-18. If that is not an undue burden on interstate commerce, it is difficult

  to imagine what is.

        D.     HB 426 Violates the First Amendment.
        HB 426 regulates—indeed, allows state courts to enjoin—protected speech.

  First, HB 426 regulates speech based on its content. The statute does not apply to

  all marketing; it applies only to “market[ing]” of “a firearm-related product.” §134-

  B(d)(3). HB 426 thus on its face regulates speech based on content or “the topic

  discussed.” City of Austin v. Reagan Nat’l Advert. of Austin, LLC, 142 S.Ct. 1464,

  1471 (2022). In fact, the statute does not even apply to all such speech by all

  speakers—only the speech of “[f]irearm industry member[s],” i.e., those “engaged

  in the manufacture, distribution, importation, marketing, wholesale, or retail sale of

  firearm-related products,” falls within HB 426’s proscriptive scope. §134-(A). That

  speaker-based discrimination is no accident. HB 426 fixates on gun-related speech

  by gun-related actors because their speech is uniquely likely to communicate a point

  of view that Hawaii apparently disfavors. See Sorrell v. IMS Health Inc., 564 U.S.

  552, 564 (2011).

        Yet the topics and views Hawaii has singled out do not fall into any of the

  “well-defined and narrowly limited classes of speech” that are unprotected by the

  First Amendment. See Brown v. Entm’t Merchants Ass’n, 564 U.S. 786, 791 (2011).



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  To be sure, the First Amendment does not preclude liability for false, deceptive, or

  otherwise “misleading” commercial speech. Cent. Hudson Gas & Elec. Corp. v.

  Pub. Serv. Comm’n of N.Y., 447 U.S. 557, 563 (1980).              But under HB 426,

  advertisements with entirely accurate specifications of lawful products may trigger

  liability if the marketed product is eventually deemed “abnormally dangerous and

  likely to create an unreasonable risk of harm to public health and safety in the State,”

  §134-B(b)(2), apparently regardless of truthfulness. HB 426 likewise imposes

  liability for advertising “targeted at minors,” §134-B(d)(3), even if the marketed

  product is lawful for minors to use. That blunderbuss approach flunks First

  Amendment 101. Truthful speech promoting lawful use of lawful products enjoys

  full constitutional protection, even if the products have deleterious health effects.

  See, e.g., Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 555 (2001) (tobacco); 44

  Liquormart, Inc. v. Rhode Island, 517 U.S. 484, 489 (1996) (plurality op.) (liquor).1

         Hawaii therefore must affirmatively prove that HB 426 satisfies heightened

  scrutiny. It cannot do so, or even come close. Despite ostensibly being motivated

  by a desire to address gun violence, HB 426 does nothing to police the conduct of




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       Making matters worse, a manufacturer can be liable under HB 426 for
  marketing, in another state, a firearm or related product that is lawful in that state if
  a Hawaii court later deems it “abnormally dangerous” as a matter of Hawaii law.
  §134-B(b)(2). It is difficult to overstate the scope of constitutionally protected
  speech that HB 426 will chill absent this Court’s intervention.

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  violent criminals or regulate vast swaths of speech—violent video games, direct

  incitements to violence, etc.—that may actually encourage criminal gun violence.

  HB 426 is thus “wildly underinclusive.” Brown, 564 U.S. at 801-02. It is also

  radically overbroad, outlawing speech that is entirely truthful and non-misleading.

  And that is to say nothing of HB 426’s prohibition on any marketing “targeted at

  minors,” §134-B(d)(3), which prohibits marketing for conduct that Hawaii has

  expressly declared to be lawful. See Haw. Rev. Stat. §134-5(a); pp.11-12, supra.

  Such sweeping provisions cannot survive heightened scrutiny.

        HB 426 also suffers from a fatal vagueness problem. Vagueness “raises

  special First Amendment concerns because of its obvious chilling effect on free

  speech.” Reno v. ACLU, 521 U.S. 844, 871-72 (1997). Yet HB 426 gives no

  guidance on what makes a firearm suitable for “assaultive purposes,” which is no

  minor omission given that most firearms can be used for “defensive” and “offensive”

  purposes. NSSF’s members are thus left with no guidance as to which firearms they

  “presumptively” cannot market at all. Those intractable vagueness problems leave

  regulated parties with no real choice but to err on the side of refraining from speech.

  See Reid Decl. ¶10; Cupero Decl. ¶10.          HB 426 is thus bound to “provoke

  uncertainty among speakers,” Reno, 521 U.S. at 871, as the statute’s subjective

  abstractions do not articulate at all—let alone with the “narrow specificity” the

  Constitution demands, NAACP v. Button, 371 U.S. 415, 433 (1963)—what speech


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  may cause liability. And nixing the constraint imposed by tradition proximate

  cause—marketing may lead to liability under HB 426 despite the actions of an

  “intervening … third-party,” §134-C(g)—only makes matters worse. Because any

  advertisement for a lawful product can create liability, any “legitimate” sweep of the

  marketing provisions is miniscule. In short, those provisions “prohibit or chill”

  protected expression, Ashcroft v. Free Speech Coalition, 535 U.S. 234, 255 (2002),

  and destroy the “breathing space” “the First Amendment needs,” Broadrick v.

  Oklahoma, 413 U.S. 601, 610 (1973).

        E.     HB 426 Is Void for Vagueness.

        For many of the same reasons that HB 426 is unconstitutionally vague with

  respect to speech, it is also unconstitutionally vague under the Due Process Clause

  with respect to all the conduct it polices. A law that forbids an act “in terms so vague

  that men of common intelligence must necessarily guess at its meaning … violates

  the first essential of due process,” Connally v. Gen. Constr. Co., 269 U.S. 385, 391

  (1926), as do laws so malleable that they authorize “arbitrary [or] discriminatory

  enforcement,” Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). And a more

  “stringent” vagueness test applies for statutes that “threaten[] to inhibit the exercise

  of constitutionally protected rights,” or impose “quasi-criminal” penalties. Vill. of

  Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 499 (1982).




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        HB 426 directly restricts speech and the other activities of those engaged in

  the lawful business of selling arms protected by the Second Amendment. And it

  authorizes damages, injunctive relief, and anything else a court deems necessary to

  prevent further violations or otherwise remedy harm. §134-C(d). HB 426 thus

  ushers in the “possibility of imposing liability on an entire industry,” which, among

  other things, “threatens the diminution of a basic constitutional right” enabled by

  that industry—namely, the right to keep and bear arms. 15 U.S.C §7901(a)(6). The

  most “stringent” vagueness test in law therefore applies here several times over.

        HB 426 flunks that test. The statute’s attempt to supply a definition for

  “reasonable controls” only compounds the confusion: HB 426 issues a sweeping

  command that industry members adopt any and all “[r]easonable controls” to

  achieve various goals including, e.g., preventing the loss or theft of firearms.

  §§134-A, 134-B(b)(2). And again, it gives no guidance on what renders a product

  “most suitable for assaultive purposes.” §134-B(d)(1). Due process demands more.

  II.   The Remaining Factors All Favor Injunctive Relief.

        The constitutional injuries HB 426 inflicts amply satisfy the irreparable-injury

  factor, especially given its chilling effects on protected speech. See Elrod v. Burns,

  427 U.S. 347, 373 (1976). And HB 426’s harms go well beyond that. The PLCAA

  confers an immunity from suit, the loss of which cannot be undone. See Mitchell v.

  Forsyth, 472 U.S. 511, 526 (1985). And HB 426 will cause “the constriction of [the]



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  market” for lawful firearms and related products—a textbook economic “injury” for

  which no redress will be available in light of the Eleventh Amendment. Craig v.

  Boren, 429 U.S. 190, 194 (1976); see Cal. Pharmacists Ass’n v. Maxwell-Jolly, 563

  F.3d 847, 851-52 (9th Cir. 2009) (economic injuries irreparable where they are

  unrecoverable due to the Eleventh Amendment), vacated on other grounds by

  Douglas v. Indep. Living Ctr. of S. Cal., Inc., 565 U.S. 606 (2012).

        The equities and public interest favor an injunction as well. See Nken v.

  Holder, 556 U.S. 418, 435 (2009) (these factors “merge when the Government is the

  opposing party”). The Attorney General “cannot suffer harm from an injunction that

  merely ends an unlawful practice.” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th

  Cir. 2013). And HB 426 not only encroaches on federal authority by defying the

  PLCAA, see United States v. Oakland Cannabis Buyers’ Coop., 532 U.S. 483, 497-

  98 (2001) (the public interest favored enjoining a state law that conflicted with

  “Congress’ policy choice, articulated in a statute”), but tramples on First and Second

  Amendment rights. “It is always in the public interest to prevent the violation of a

  party’s constitutional rights.” Riley’s Am. Heritage Farms v. Elsasser, 32 F.4th 707,

  731 (9th Cir. 2022).




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                                  CONCLUSION
        For the foregoing reasons, the Court should grant a preliminary injunction.



  DATED: Honolulu, Hawaii, July 17, 2023.

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